Case 2:04-Cr-20270-BBD Document 34 Filed 08/17/05 Page 1 of 2 Page|D 31

IN THE UNITED sTATEs DISTRICT coURT F"-ED BY/~PéD-C-
FoR THE wEsTERN DISTRICT oF TE:NNESSEE
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IHOMAS M.GOULD
UNITED sTATEs oF AMERICA, G_EFK U,$_Q!SH$IC{)UHT
W;U §§ `.’ hr?:W”!-IIS
Plaintiff,
vs. Cr. No. 04-20270-D

ANDRE S R.AYO - MALDONADO ,

Defendant.

 

ORDER

 

It is hereby Ordered that the Sentencing in the above

captioned matter is continued until the R§e+” day of

AL[@U§{’ , 200£ at 1=.'OOH/p.m.

Thus Ordered this /\¥Hday of Agég@é_ , 200" at

Memphis, Tennessee.

  

:Lted Sta es District Court Judge

 
 

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